
377 N.W.2d 459 (1985)
Vernon H. REDISKE, et al., Appellants, Respondents (C0-85-180),
v.
MINNESOTA VALLEY BREEDERS' ASSOCIATION, d.b.a. MVBA Harvestore Systems, Defendants,
Minnesota Valley Breeders' Association, d.b.a. MVBA Harvestore Systems and Robert Maust, Appellants (C0-85-180),
A.O. Smith Harvestor Products, Inc., et al., Respondents,
AgriStor Leasing, Respondent.
C4-85-179, C0-85-180.
Supreme Court of Minnesota.
December 11, 1985.

ORDER
Based upon all the files records, and proceedings herein,
IT IS HEREBY ORDERED that the petitions for further review are granted for the limited purpose of considering the propriety of the remand to the trial court for a determination of comparative fault on issues of both fraud and negligence and the question of whether it was error to submit to the jury Vernon Rediske's claim of negligence against Minnesota Valley Breeder's Association and Maust. Other issues to which the petitions have been addressed will not be considered by the court. The petitioner shall proceed as the appellant and briefs shall be filed in the quantity, form and within the time limitations contained in Minn.R.Civ.App.P. 131 and 132. Counsel will be notified at a later date of the time for argument before this court. No requests for extensions of time for the filing of briefs will be entertained.
